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17
                                   UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA
19

20                                       SAN FRANCISCO DIVISION

21
     STATE OF CALIFORNIA, et al.,                      CIVIL CASE NO.: 3:20-CV-06761-EMC
22
                           Plaintiffs,                 JOINT STATUS REPORT
23
                    v.
24                                                     Action Filed: September 29, 2020
     BUREAU OF ALCOHOL, TOBACCO,
25   FIREARMS AND EXPLOSIVES, et al.,                  Status Conference: March 28, 2023 at 2:30 p.m.
26                         Defendants.                 Hon. Edward M. Chen
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                               JOINT STATUS REPORT - CASE NO. 3:20-CV-06761-EMC
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 1          Pursuant to this Court’s February 27, 2023 Order directing the filing of a Joint Status Report

 2   (ECF No. 139), Plaintiffs State of California and Giffords Law Center to Prevent Gun Violence

 3   (“Giffords Law Center”) and Defendants Bureau of Alcohol, Tobacco, Firearms and Explosives

 4   (“ATF”), Steven Dettelbach, Daniel Hoffman, United States Department of Justice, and Merrick B.

 5   Garland (collectively, the “Parties”), by and through their respective counsel of record, hereby submit

 6   the following:

 7          On April 11, 2022, ATF issued a final rule titled “Definition of ‘Frame or Receiver’ and

 8   Identification of Firearms.” See 87 Fed. Reg. 24,652, codified at 27 C.F.R. pts. 447, 478 and 479 (the

 9   “Final Rule”). On October 20, 2022, Plaintiffs filed their First Amended Complaint (“FAC”) alleging

10   primarily that the Final Rule violates the Administrative Procedure Act (“APA”). See ECF No. 122.

11   Specifically, Plaintiffs allege in the First Amended Complaint that: (1) ATF’s determination that 80

12   percent receivers and frames are not “firearms” contravenes the Gun Control Act, which deems a

13   “firearm” any weapon that is designed to or may readily be converted to expel a projectile; and

14   (2) ATF’s determination that only 80 percent receivers and frames sold with jig kits, templates, or

15   similar items qualify as “firearms” is arbitrary and capricious. See FAC ¶¶ 14–15. Defendants dispute

16   Plaintiffs’ claims that the Final Rule violates the APA and have contended (including in their reply

17   brief supporting their motion to dismiss), among other things, that Plaintiffs have misinterpreted the

18   Final Rule, which does not use the term “80 percent receivers and frames,” and which provides that “a

19   partially complete, disassembled, or nonfunctional frame or receiver, including a frame or receiver

20   parts kit, that is designed to or may readily be completed, assembled, restored, or otherwise converted
21   to function as a frame or receiver” is a frame or receiver, and therefore, a firearm. See ECF No. 130,

22   at 2–5; 87 Fed. Reg. at 24,739 (27 C.F.R. § 478.12(c)); see also ECF No. 130-1 (ATF Open Letter

23   concluding that certain frames marketed as “80%” frames are “frames” and “firearms” under the Final

24   Rule and Gun Control Act, “even without any associated templates, jigs, molds, equipment, tools,

25   instructions, guides, or marketing materials”). On November 11, 2022, Defendants moved to dismiss

26   the First Amended Complaint under Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter

27   jurisdiction. See ECF No. 125.

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 1          On February 9, 2023, the Court issued an order granting Defendants’ motion to dismiss in part

 2   and denying it in part. See ECF No. 135. The Court dismissed the two individual Plaintiffs for lack of

 3   standing, but it held that Plaintiffs State of California and Giffords Law Center had sufficiently alleged

 4   standing to challenge the Final Rule. See id. at 6–28. The Court dismissed without prejudice as unripe

 5   Plaintiffs’ alternative claims challenging prior ATF classifications and guidance but explained that

 6   “the Court is not barring California/GLC from asking for leave to amend should things become more

 7   concrete in nature.” See id. at 28–30. Finally, the Court rejected the arguments asserted in an amicus

 8   brief filed by certain of the individuals and entities that had previously moved to intervene as

 9   defendants in this case. See id. at 30–33 (rejecting arguments that the Court should dismiss the First

10   Amended Complaint or, in the alternative, stay the case pending the outcome of other lawsuits

11   challenging the Final Rule). Defendants filed their Answer to the First Amended Complaint on

12   February 23, 2023. ECF No. 138.

13          In its February 9, 2023 Order, the Court set an expedited briefing schedule on the two pending

14   motions to intervene and directed the proposed intervenors—Polymer80, Inc. and Blackhawk

15   Manufacturing Group, Inc., which was joined by three other individuals and entities (the “Blackhawk

16   Applicants”)—to submit supplemental briefs in support of their respective motions to intervene. On

17   February 22, 2023, the Blackhawk Applicants withdrew their motion to intervene. ECF No. 136. On

18   February 23, 2023, Polymer80, Inc. separately withdrew its motion to intervene. ECF No. 137. With

19   all pending motions withdrawn or resolved, the Court set a status conference for March 28, 2023 and

20   directed the Parties to file this Joint Status Report. ECF No. 139.
21             I.   Case Schedule

22                      A. Lodging of the Administrative Record

23          The Parties agree that Defendants will lodge the certified administrative record no later than

24   14 days after the Court enters a case management order following the March 28, 2023 status

25   conference. Due to the large size of the administrative record, Defendants plan to serve Plaintiffs with

26   a true and correct copy of the administrative record in thumb-drive format. Plaintiffs do not object to

27   this proposal and will accept service of a thumb drive directed to:

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 1          Gibson, Dunn & Crutcher

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 5                      B. Disputes Regarding the Sufficiency of the Administrative Record

 6          The Parties agree that the case schedule should build in time after Defendants lodge and serve

 7   the certified administrative record to resolve any disputes related to the sufficiency or completeness of

 8   the administrative record. Should a dispute arise regarding the sufficiency or completeness of the

 9   administrative record, the Parties will meet and confer to attempt to negotiate a resolution. Within

10   60 days after Defendants lodge and serve the certified administrative record, the Parties shall notify

11   the Court whether they are in agreement that the administrative record is complete or whether any party

12   intends to move the Court to resolve any disputes regarding the sufficiency or completeness of the

13   administrative record.

14          Plaintiffs anticipate that such a motion could incorporate a request for leave to take discovery,

15   including to supplement the administrative record. See infra Section II. Defendants do not believe that

16   discovery is necessary or appropriate in this case but also submit that it is premature for the Court to

17   determine that question.

18                      C. Summary Judgment Briefing

19          The Parties agree that the summary judgment briefing schedule should commence following

20   the date when all disputes regarding the sufficiency or completeness of the administrative record have
21   been resolved, either by stipulation of the Parties or pursuant to a Court order. To the extent the Court

22   agrees that Plaintiffs are entitled to take discovery from Defendants and/or from third parties, see infra

23   Section II, Plaintiffs also respectfully request that the summary judgment briefing schedule commence

24   following the date when such discovery is complete.

25          To maximize efficiency and to conserve the Parties’ and the Court’s resources, the Parties

26   jointly propose a staggered, four-brief schedule as set forth below:

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 1                1. Opening brief in support of motion for summary judgment;

 2                2. Brief in opposition to motion for summary judgment and opening brief in support of

 3                     cross-motion for summary judgment;

 4                3. Reply brief in support of motion for summary judgment and brief in opposition to cross-

 5                     motion for summary judgment; and

 6                4. Reply in support of cross-motion for summary judgment.

 7   The Parties anticipate that some extension of the default page limits may be appropriate but believe

 8   that discussion of that issue is premature, including because the certified administrative record has yet

 9   to be lodged. The Parties will meet and confer regarding appropriate page limits in advance of filing

10   any motions for summary judgment.

11           The Parties disagree as to whose motion for summary judgment and supporting papers should

12   be filed first.

13           Plaintiffs’ Position: Defendants should be required to move for summary judgment first to

14   clarify ATF’s interpretation of the Final Rule, which has shifted throughout this litigation. Plaintiffs

15   filed the First Amended Complaint in this case because they took ATF at its word that it did not

16   consider ghost gun parts sold separately from templates, jigs, molds, equipment, tools, instructions,

17   guides, or marketing materials to be “firearms” under the Gun Control Act. See FAC ¶¶ 94, 108–09;

18   FAC Ex. 24. ATF seemed to confirm that interpretation in a September 2022 Open Letter to all

19   Federal Firearms Licensees, which indicated that “80 percent AR-type receivers . . . are not firearms

20   if they lack ‘indexing or machining of any kind . . . in the area of the fire control cavity’ and are ‘not
21   sold, distributed, or marketed with any associated templates, jigs, [or] molds, . . . such as within a

22   receiver parts kit.’” FAC ¶ 102; FAC Ex. 23. But in December 2022—just two weeks before

23   Defendants filed their reply brief in support of their motion to dismiss—ATF issued a new Open

24   Letter to All Federal Firearms Licensees announcing that certain partially complete striker-fired or

25   “Glock-type” pistol frames are “firearms” subject to regulation under the Gun Control Act even

26   when sold “without any associated templates, jigs, molds, equipment, tools, instructions, guides, or

27   marketing materials.” ECF No. 130, Ex. 1 (Dec. 2022 Open Letter) (emphasis added). As this

28   Court observed in its order resolving Defendants’ motion to dismiss, Defendants relied on the

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 1   December 2022 Open Letter in their reply brief to “argue[] for the first time” that Plaintiffs had

 2   “interpreted the final rule incorrectly.” ECF No. 135 at 12. The Court also noted that, “[i]n light of

 3   the September 2022 Open Letter, the size of the loophole/exception [created by the Final Rule], even

 4   after the issuance of the December 2022 Open Letter, is ambiguous.” See ECF No. 135 at 13; see

 5   also ECF No. 134 (Motion to Dismiss Oral Argument Tr.) at 18:9-12 (“But what do we do now that

 6   it appears there’s some ambiguity that -- over the size of the loophole? Because now the Government

 7   has issued an open letter saying the loophole is not that big.”).

 8          Given Defendants’ shifting interpretations of the Final Rule, it is necessary for Defendants to

 9   move for summary judgment first to clarify their interpretation of the Final Rule and what types of

10   products the Final Rule covers. Requiring Defendants to move for summary judgment first will

11   crystallize Defendants’ interpretation of the Final Rule, ensuring that the parties are properly joining

12   issue and preventing unnecessary briefing on legal positions that are not in dispute.

13          Defendants’ Position: The Court should require Plaintiffs to file the initial summary judgment

14   motion and brief to clarify the scope of any disputes about the legality of the Final Rule. This case

15   concerns Plaintiffs’ allegations that the Final Rule is contrary to the Gun Control Act, FAC ¶¶ 140-

16   143, and that the Final Rule is arbitrary and capricious, id. ¶¶ 148-152. An initial summary judgment

17   filing by Plaintiffs would set forth in what respects, if any, Plaintiffs believe that the Rule is contrary

18   to statutory authority or arbitrary and capricious after viewing and considering the administrative

19   record. Such a filing would clarify and may narrow the scope of the dispute, and would focus the

20   remainder of summary judgment briefing on the specific purported deficiencies that Plaintiffs perceive
21   in the Final Rule.

22          Plaintiffs argue that the Court should require Defendants to file the initial summary judgment

23   brief because they assert ATF’s interpretation of the Final Rule “has shifted throughout this litigation.”

24   Plaintiffs’ assertion is incorrect. ATF’s interpretation of the Final Rule has been consistent throughout

25   this litigation, and indeed, since ATF issued the Final Rule. The Final Rule set forth the standard for

26   determining whether a partially complete frame or receiver is a frame or receiver, and therefore, a

27   firearm: “The terms ‘frame’ and ‘receiver’ shall include a partially complete, disassembled, or

28   nonfunctional frame or receiver, including a frame or receiver parts kit, that is designed to or may

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 1   readily be completed, assembled, restored, or otherwise converted to function as a frame or receiver . .

 2   . .” 87 Fed. Reg. at 24,739 (27 C.F.R. § 478.12(c)). The Final Rule also defines “[r]eadily” to mean a

 3   process, action, or physical state that is fairly or reasonably efficient, quick, and easy, but not

 4   necessarily the most efficient, speediest, or easiest process, action, or physical state. Id. at 24,735 (27

 5   C.F.R. § 478.11). With respect to ATF’s classification of firearms, relevant factors to making this

 6   determination include: (1) time (2) ease, (3) expertise, (4) equipment (5) parts availability, (6) expense,

 7   (7) scope, and (8) feasibility. Id.

 8          Plaintiffs suggest that ATF has shifted its interpretation of the Final Rule because one ATF

 9   Open Letter concluded that one group of partially complete receivers did not qualify as firearms, FAC

10   Ex. 23 (September 2022 Open Letter), while another ATF Open Letter concluded that a different group

11   of partially complete frames did qualify as firearms, ECF No. 130-1 (December 2022 Open Letter).

12   Plaintiffs’ suggestion is incorrect: ATF applied the Final Rule’s standard consistently in both letters.

13   Each letter began by setting forth § 478.12(c)’s standard for classifying partially complete frames and

14   receivers and § 478.11’s definition of “readily,” FAC Ex. 23, at 2; ECF No. 130-1, at 2-3. Each letter

15   then applied the standard to the set of products at issue by considering the specific characteristics of

16   the products. See FAC Ex. 23, at 3-6; ECF No. 130-1, at 3-9. Contrary to Plaintiffs’ assertions, ATF

17   never took the categorical position that so-called “80 percent” frames or receivers sold without

18   templates, jigs, molds, equipment, tools, instructions, guides, or marketing materials never qualify as

19   firearms under the Final Rule. Rather, as Defendants explained in their prior briefing, ATF has taken

20   the more limited position that “AR-15 variant” receiver blanks “without critical interior areas having
21   been indexed, machined, or formed” are not receivers if “not sold, distributed or possessed with

22   instructions, jigs, templates, equipment, or tools such that it may readily be completed.” 87 Fed. Reg.

23   at 24,739 (27 C.F.R. § 478.12(c) example 4); ECF No. 130, at 4 (“Example 4 does not apply to any

24   products other than incomplete AR-15 variant receivers, and it does not even apply to AR-15 variant

25   receivers with any machining or indexing in critical interior areas, nor does it apply to any incomplete

26   frames or receivers sold with supporting materials such as templates or jigs.”).

27            II.   Discovery

28          The Parties disagree as to whether discovery is appropriate in this case.

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 1          Plaintiffs’ Position: Time to conduct targeted discovery should be incorporated into the case

 2   schedule before summary judgment briefing commences. Targeted discovery from Defendants or

 3   from third parties is appropriate in this case for two reasons.

 4          First, Plaintiffs are entitled to take discovery that will confirm they have standing to challenge

 5   the Final Rule—a live issue in this case and one on which Plaintiffs bear the burden of proof. As the

 6   Court indicated in its February 9, 2023 Order, Plaintiffs’ standing ultimately depends on the “size of

 7   the loophole” created by the Final Rule and the “predictable effects of [the Final Rule] on third

 8   parties.” See ECF No. 135 at 10–13. Defendants have refused to concede the issue and have

 9   reserved their ability to challenge Plaintiffs’ standing in connection with their upcoming motion for

10   summary judgment. Defendants, in other words, are taking the position that Plaintiffs have the

11   burden to prove standing but should not be permitted to discover facts necessary to discharge that

12   burden. That position is not only fundamentally unfair but contrary to Ninth Circuit law, which

13   permits discovery and consideration of evidence relevant to standing even in cases brought under the

14   APA. See Nw. Env’t Advocs. v. U.S. Dep’t of Com., 2019 WL 110985, at *1–2 (W.D. Wash. Jan. 4,

15   2019) (explaining that “extra-record evidence may be appropriate to establish a party’s standing to

16   bring a lawsuit” even “in [administrative] record review cases,” and granting plaintiffs “leave to take

17   discovery into the issue of standing” (citing Nw. Env’t Def. Ctr. v. Bonneville Power Admin., 117

18   F.3d 1520, 1527–28 (9th Cir. 1997))); cf. Env’tl Protection Info. Ctr. v. Blackwell, 389 F. Supp. 2d

19   1174, 1220–21 (N.D. Cal. 2004) (holding that plaintiff was entitled to introduce extra-record

20   evidence “regarding standing” in APA action).
21          Second, Plaintiffs likely will seek discovery to supplement the administrative record. The

22   Ninth Circuit recognizes “multiple scenarios in which extra-record documents may ultimately be

23   considered by a court” to determine whether an agency has violated the APA. Tribe v. Bureau of

24   Land Mgmt., 2022 WL 1778525, at *3–5 (E.D. Cal. June 2, 2022). “[A] reviewing court may inquire

25   outside the administrative record,” for example, “to determine whether the agency has considered all

26   relevant factors or has explained its course of conduct or grounds of decision.” Ctr. for Biological

27   Diversity v. Salazar, 2010 WL 11575282, at *2 (N.D. Cal. Sept. 27, 2010) (internal quotation marks

28   and alteration omitted) (permitting supplementation of administrative record with declaration that

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 1   “tend[ed] to show that [agency] failed to consider all relevant factors in reaching its decision”).

 2   Because “[i]t will often be impossible . . . for the court to determine whether the agency took into

 3   consideration all relevant factors unless it looks outside the record to determine what matters the

 4   agency should have considered but did not,” Asbestos Disease Awareness Org. v. Wheeler, 508 F.

 5   Supp. 3d 707, 733 (N.D. Cal. 2020) (first alteration in original) (internal quotation marks omitted),

 6   courts in this Circuit have granted plaintiffs leave to take discovery outside the administrative record

 7   to prove that the agency failed to consider all the relevant factors, see, e.g., J.L. v. Cissna, 2019 WL

 8   2223803, at *2–3 (N.D. Cal. May 22, 2019); Sierra Club v. U.S. Dep’t of Transp., 245 F. Supp. 2d

 9   1109, 1119 (D. Nev. 2003); see also Tribe, 2022 WL 1778525, at *4 (citing cases for the proposition

10   that “where evidence outside the administrative record may be offered, it must be discoverable”).

11          For this reason, limited discovery will likely be appropriate here. One of Plaintiffs’ theories

12   in this case is that ATF failed to consider relevant and important factors in promulgating the Final

13   Rule. See FAC ¶¶ 150–52, 154. Specifically, ATF failed to consider that the Final Rule left open a

14   loophole allowing customers to buy a ghost gun frame or receiver without submitting to a

15   background check so long as they purchase that frame or receiver separately from a jig and tool kit.

16   See FAC ¶¶ 90, 100–04, 108; see also ECF No. 135 at 5–6. ATF is aware of the dangers and

17   proliferation of ghost guns, see FAC ¶ 12; EFC No. 138 (Answer) ¶¶ 11, 37, 60, yet it failed to

18   consider the ways in which the Final Rule will not abate and indeed may exacerbate the harm caused

19   by ghost guns, see FAC ¶ 151. Plaintiffs should be permitted to take discovery from Defendants

20   and/or from third parties so that Plaintiffs can confirm that these factors exist and that Defendants
21   failed to properly consider them.

22          Defendants’ Position: For the reasons explained below, Defendants do not believe that

23   discovery is necessary or appropriate in this APA case. Defendants also submit that it is unnecessary

24   and premature at this time for the Court to resolve the question whether discovery will be appropriate.

25   Plaintiffs have not identified any specific discovery requests they intend to propound. Nor have

26   Plaintiffs identified any third parties from whom they intend to seek discovery. Plaintiffs are uncertain

27   whether they will seek any discovery, stating only that they “will likely” seek discovery. The issue of

28   the appropriateness of discovery should not be determined in the abstract but rather in the context of a

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 1   concrete dispute about specific discovery that Plaintiffs intend to take, should any such dispute arise.

 2   Because the parties already agree that time should be built in the schedule for any disputes about the

 3   completeness of the administrative record, there will also be time in the schedule to address any

 4   concrete disputes about discovery.

 5          The general rule is that discovery is not permitted in an APA case. Nw. Motorcycle Ass’n v.

 6   U.S. Dep’t of Agric., 18 F.3d 1468, 1472 (9th Cir. 1994) (reviewing final agency determination under

 7   APA usually “does not require fact finding” and is “limited to the administrative record”). “[T]he

 8   focal point for judicial review” under the APA should be “the administrative record already in

 9   existence, not some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138,

10   142, 93 S. Ct. 1241, 36 L.Ed.2d 106 (1973); see also Citizens to Preserve Overton Park, Inc. v.

11   Volpe, 401 U.S. 402, 420, 91 S. Ct. 814, 28 L.Ed.2d 136 (1971), abrogated on other grounds,

12   Califano v. Saunders, 430 U.S. 99, 97 S.Ct. 980, 51 L.Ed.2d 192 (1977). Under the APA, “[t]he task

13   of the reviewing court is to apply the appropriate APA standard of review, 5 U.S.C. § 706, to the

14   agency decision based on the record the agency presents to the reviewing court.” Florida Power &

15   Light Co. v. Lorion, 470 U.S. 729, 743-44, 105 S. Ct. 1598, 84 L.Ed.2d 643 (1985). Further, the

16   reviewing court must not substitute its judgment for that of the agency decision maker but, instead,

17   should determine whether the agency decision, based on the record before the decision maker, was

18   arbitrary and capricious. See Overton Park, 401 U.S. at 416; see also Florida Power & Light, 470

19   U.S. at 744.

20          Because judicial review in APA cases is so circumscribed, discovery is the “strictly limited
21   exception rather than the established rule.” Neuma Corp. v. Abdnor, 713 F. Supp. 1, 6 (D.D.C. 1989).

22   In the Ninth Circuit, discovery is permitted in APA record review cases only in unusual circumstances.

23   Animal Defense Council v. Hodel, 840 F.2d 1432, 1436-38 (9th Cir. 1988), modified, 867 F.2d 1244

24   (9th Cir. 1989).

25          Plaintiffs argue that discovery may be appropriate under one of these exceptions to the rule

26   against discovery in APA cases, where discovery is necessary “to determin[e] whether the agency has

27   considered all relevant factors or has explained its course of conduct or grounds of decision.” Ctr. for

28   Biological Diversity v. Salazar, 2010 WL 11575282, at *2 (N.D. Cal. Sept. 27, 2010) (quoting Animal

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 1   Defense Council, 840 F.2d at 1436-37). This “limited exception[]” is “narrowly construed and

 2   applied.” Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir. 2005). Plaintiffs do not yet have the

 3   administrative record, which Defendants will produce soon, and which will contain tens of thousands

 4   of pages of materials that were before ATF when it issued the Final Rule. Defendants believe that the

 5   full administrative record will dispel any notion that ATF failed to consider relevant factors. At the

 6   very least, it is premature to determine whether this limited exception applies, when Plaintiffs have not

 7   reviewed the administrative record, have not articulated any specific discovery requests they believe

 8   will be necessary, and have not even decided whether they will seek any discovery.

 9          Plaintiffs also suggest that they may need discovery to prove standing. Plaintiffs do not specify

10   what discovery regarding standing they may seek, and Defendants do not believe Plaintiffs have shown

11   that any such discovery will be necessary or appropriate in this case. Plaintiffs should be in possession

12   of the evidence of the harms they believe they have suffered as a result of the Final Rule. In its motion

13   to dismiss ruling, the Court indicated that standing may hinge on the interpretation of the Final Rule,

14   which it read in “California’s favor” at the pleading stage. ECF No. 135, at 13. But the Court should

15   be able to resolve any legal disputes regarding the Rule’s interpretation by considering summary

16   judgment briefing and the administrative record. Plaintiffs fail to articulate why discovery would be

17   necessary or informative on that issue. In any event, because Plaintiffs have not yet articulated any

18   specific discovery they might like to take, the Court need not and should not resolve at this stage in the

19   abstract whether such discovery will be appropriate.

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         Case 3:20-cv-06761-EMC Document 141 Filed 03/21/23 Page 15 of 15


 1                                     SIGNATURE ATTESTATION
 2

 3   Pursuant to Local Rule 5-1(i), I hereby attest that concurrence in the filing of the document has been
     obtained from each of the other Signatories.
 4

 5
     Dated: March 21, 2023                                  /s/   Scott A. Edelman
 6                                                                Scott A. Edelman

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